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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                             :
                                                     :
                                                     :       Case No. 21-cr-160
              v.                                     :
                                                     :
KUEHNE ET AL.                                        :


GOVERNMENT RESPONSE TO MOTION TO MODIFY CONDITIONS OF RELEASE

       Pursuant to the Court’s March 23, 2021 Minute Order regarding Defendant Felicia Konold

and Defendant Cory Konold’s Motion to Modify Conditions of release (ECF No. 49), the

government now responds. The government through undersigned counsel has spoken with both

counsel for Ms. Konold and counsel for Mr. Konold and has no objection to this very limited

modification of their respective terms of release. The government therefore takes no issue with

both defendants attending the same Passover seder at the date, time, and location listed in the

motion. However, the government would like to make the record clear, that the conditions of

release, including the non-contact provision, should be followed leading up to this event and

immediately after this event until further direction from the Court.

                                              Respectfully submitted,

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                                              Acting United States Attorney
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